Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 1 of 76 PageID #: 1483




                Exhibit 2
               Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 2 of 76 PageID #: 1484




Presentation of results

2019 - 2020
PDVSA AD HOC BOARD
OF DIRECTORS
    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 3 of 76 PageID #: 1485




AGENDA
  PDVSA
  • Background
  • 2019 objectives
  • PDVSA's ad hoc Board of Directors
  • Nynas A.B. and other assets
  • Relationship of assets with the U.S.
  • PDVSA 2020 bonds
  • Crystallex and other cases in Delaware, U.S.A.
  • Asset defense budget
  CITGO ENTITIES
  • Financial stability
  • Operational stability
  • Asset protection
  • Corporate governance
  • Investigations

  PDVSA'S ROLE IN VENEZUELA'S FUTURE

  FINAL CONCLUSIONS
                        Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 4 of 76 PageID #: 1486




BACKGROUND

    CREATION OF PDVSA’S AD HOC BOARD OF DIRECTORS (FEBRUARY
    8, 2019)
      Five directors
      Take control of PDV Holding, Inc./CITGO Holding, Inc./CITGO Petroleum Corporation

    EXPANSION OF THE AD HOC BOARD OF DIRECTORS AND ITS POWERS (APRIL
    10, 2019)
      Expansion to nine directors (maintaining four of the original directors)
        - Take control of PDVSA's subsidiaries incorporated abroad (2.1)*
        - Order payments to extinguish obligations (2.2)*
        - Exercise legal representation of PDVSA and its subsidiaries - with the powers of
      the shareholders' meeting
      Budget and technical resources undefined
Decree No. 3, Presidency (e) of the Bolivarian Republic of Venezuela.
      Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 5 of 76 PageID #: 1487




2019 OBJECTIVES
In conjunction with the Office of the Special Prosecutor of the Republic, priority
objectives were defined within a maximum anticipated time frame of six months
Ad hoc Board of Directors representing PDVSA as a shareholder of PDV
Holding, Inc./CITGO

PDVSA 2020 bonds
Litigation in the District Court of Delaware (all seeking access to CITGO)
 -   Crystallex case
 -   Owens Illinois case
 -   Saint-Gobain case
 -   Tidewater case
 -   ConocoPhillips case
Relationship with the Department of the Treasury (OFAC)
Petrozuata award - ConocoPhillips
Nynas A.B.
           Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 6 of 76 PageID #: 1488




AD HOC BOARD OF DIRECTORS
MODE OF OPERATION
Due to the geographic dispersion of its members and the lack of resources,
meetings are virtual, held once a week or extraordinarily when the situation so
warrants – Quorum of five of its members (Article 10, Decree No. 3)

President of the ad hoc Board of Directors acts as a representative before third
parties and signs the documents necessary to exercise the rights corresponding
to PDVSA and its subsidiaries (...) (Article 8, ibid)

The judicial and extra-judicial representation of PDVSA and its direct and indirect
subsidiaries (...) shall correspond exclusively to the Special Prosecutor (Article
11, ibid)

With little or no operating budget support
            Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 7 of 76 PageID #: 1489




      INITIAL SITUATION NYNAS A.B.

                          Nynas A.B. is a specialty crude oil refinery system in the
    PDVSA                 Northern European market; PDVSA has been a partner since
                          1986
          100%
                          Subject to OFAC sanctions (Executive Order 13850,
PROPERNYN B.V.            November 1, 2018), as PDVSA holds a majority stake
(The Netherlands)
          100%            On January 28, 2019, at the behest of the Legitimate
 PDV Europe B.V.          Government, OFAC issues General License 13 (GL13), which
(The Netherlands)         allows Nynas to continue to operate under certain
                          restrictions - expires July 27, 2019
          50.001%
                          As with CITGO, the risks of its financial situation
   AB NYNÄS
                          and commercial relations were subject to the temporary
    (Sweden)
                          duration of the licenses
                       Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 8 of 76 PageID #: 1490




NYNAS A.B.*
     APRIL 2019–2020...                  2019–2020…            2020                            Ownership and Structure
                                                                                             of Governance of Nynas A.B.
     Multiple legal actions in          October 2019: with     April 2020: OFAC
     coordination with the              the Office of the      extends GL13E (30
     Permanent Commission               Special Prosecutor     days) to allow the          NESTE            NYNÄSSTIFTELSEN   PDVSA
     for Energy and                     of the Republic, the   restructuring to be
     Petroleum, the Center for          renewal of General     finalized
     Government, and                    License GL13D is
     diplomatic                         procured with          May 2020: Nynas
     representations in                 OFAC to give           announces
     Sweden and the                     Nynas flexibility of   shareholder
     Netherlands to achieve             operation until        restructuring (agreed
     the taking of control, via         April 2020 – it        with PDVSA La
     the recognition in the             cannot buy             Campiña); OFAC
     Netherlands of the                 Venezuelan crude       announces lifting of
     legitimacy of the PDVSA            oil                    sanctions               Source: Nynas A.B.
     ad hoc Board of
     Directors – ultimately             12.13.2019: Nynas
     unsuccessful                       announces that it is
                                        beginning a
                                        process of financial
                                        reorganization

Report to the National Assembly on Nynas A.B., 05.25.2020
                    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 9 of 76 PageID #: 1491




OTHER ASSETS OF INTEREST



                                                     PDVSA                             PDVSA ISLA
      PDV CARIBE S.A.*                             AMERICA S.A*.                     DE CURAZAO B.V.




   Petrojam Refinery                                PDVSA Argentina                  Curaçao Island Refinery
   Jamaica - expropriated                           PDVSA Bolivia                    operation contract
   Refidomsa PDV                                    PDVSA Ecuador
   Dominican Republic                               PDVSA Paraguay
                                                    Among others...


Companies registered in Venezuela, subsidiaries of PDVSA
                    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 10 of 76 PageID #: 1492




         RELATIONSHIP WITH ASSETS IN THE U.S.
   Entities in Venezuela
                                          In February 2019, the PDVSA ad hoc Board of Directors appoints the

       Represented by the
                                          boards of PDV Holding, Inc., CITGO Holding, Inc., and CITGO Petroleum
    Ad hoc Board of Directors             Corporation
         OWNS 100% OF




Entities in the United States            As owner of 100% of the shares of PDV Holding, Inc., PDVSA's ad hoc Board of
                                         Directors acts as a shareholder under the laws of the State of Delaware, USA


        OWNS 100% OF                      Guarantee operating autonomy in accordance with the laws governing private
                                          companies in the USA
                                          Appointment of the boards of directors of PDVSA subsidiaries registered in Delaware as
                                          private companies
        OWNS 100% OF
                                          Quarterly rendering of accounts of subsidiaries before PDVSA's ad hoc Board of
                                          Directors
                                          Asset defense coordination with the boards of directors of PDV Holding,
                                          Inc. and CITGO Petroleum Corporation
               OWNS


                                       Since the boards of directors of PDVSA's subsidiaries were appointed, all lawsuits
                                       against them have been won in the courts of Delaware, U.S.A., thus ratifying the
  Three refineries and other assets
                                       legitimacy of those appointments.
            Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 11 of 76 PageID #: 1493




SITUATION ENCOUNTERED IN THE U.S.

 MAJOR RISKS
  PDVSA 2020 bonds issued by PDVSA under conditions of invalidity in 2016, with 50.1%
  of PDV Holding, Inc.’s shares in CITGO serving as collateral
  - only debt without default and with payment of short-term interest (April 27, 2019)

  Crystallex lawsuit in Delaware for debt owed by the Republic, seeking attachment of
  PDVSA's shares in PDV Holding, Inc. – the court had already ruled against the Republic
  in 2018 – on appeal.

  PDV Holding, Inc. and its subsidiaries (CITGO) under the effects of the OFAC sanctions
  (DoT) and operating under a short-term license

  CITGO with a high-risk debt profile and having lost the Venezuelan crude oil supply
                               Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 12 of 76 PageID #: 1494




PDVSA 2020*
 2016                         APRIL 2019                       MAY 2019              OCTOBER–AUGUST 2019           OCTOBER 2019                 JULY 2020

 PDVSA offers debt            Remaining debt balance           05.07.19:             Analysis of financial         Bondholders have little      Judge Polk Failla
 swap and issues new          is $1.683 billion                National              options to handle payment     incentive, as they had       decides to
 bonds known as:                                               Assembly              in October 2019               license to enforce the       postpone the oral
 "8.50% Senior                04.27.19: interest               approves                                            guarantee (GL5)              argument until
 Secured Notes due            obligation: $71.5 million –      interest              Discussions with                                           09.22.20, pending
 2019"                        30-day grace period              payment under         bondholders, who insist on    10.15.19: National           the opinion
                                                               protest               payment of principal and      Assembly ratifies its        requested from the
 50.1% of the shares                                                                 interest                      opinion on invalidity of     U.S. Government
 of CITGO Holding                                              05.15.19:                                           the issuance
 Inc., owner of CITGO                                          PDVSA's ad hoc        In view of the lack of
 Petroleum                                                     Board of              liquidity and the proximity   10.21-24.19: Talks with
 Corporation, are                                              Directors makes       of the maturity date,         bondholders continue,
 pledged as collateral                                         payment under         PDVSA proposes a three-       without success**
 National Assembly                                             protest               month forbearance to
 rejects validity of the                                                             bondholders                   10.24.19: OFAC issues
 issuance                                                      Funds come                                          GL5A, blocking
                                                               from accounts                                       bondholders’ ability to
                                                               payable to                                          enforce the guarantee
                                                               PDVSA from
                                                               PDVH's                                              10.29.19: After
                                                               subsidiary                                          consultations and with
                                                                                                                   the National Assembly’s
                                                               Payment made                                        approval, PDVSA and
                                                               under OFAC                                          subsidiaries file suit in
                                                               license                                             New York court seeking
                                                                                                                   the invalidity of the debt
                                                                                                                   and the guarantee***

*     Source: 2019 Management Report of the ad hoc Board, Dec 2019.
**    10.27.19: a payment of $913 million was due; if it was not made, it would generate a default
***    The trial is conducted under the protection of GL5D, valid until 10.20.2020.
                         Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 13 of 76 PageID #: 1495




CRYSTALLEX
2002-2011              2016-2017                     2018              2019-2020                         2020

2002 – Venezuela       2016 – Crystallex files       08.09.2018 -      Legal representation of           May 2020 – trial
signs contract with    international arbitration     Judge Stark       PDVSA and the Republic            resumes in the District
Crystallex             suit against the Republic     ruled that the    files appeal of verdict           Court of Delaware
International: Las     and is awarded $1.2           Republic and
Cristinas gold mine.   billion                       PDVSA are an      July 2019 – appeal is             June – July 2020 – the
                                                     Alter Ego1 and,   dismissed in 3rd Circuit          Republic and PDVSA file
2011 – Hugo Chavez     2017 – Washington DC          issues an         court, and decision is            motions seeking to
expropriates the       court confirms award in       attachment        reaffirmed in November            rescind the verdict
mine, and with it,     favor of Crystallex           order on the      2019                              and/or avoid the
Crystallex's                                         shares of PDV                                       attachment of PDVSA's
contractual rights.    08.14.2017 – Crystallex       Holding, Inc.     February 2020 – writ of           shares in PDVH
                       starts legal proceedings                        certiorari is filed in the U.S.
                       in the state of Delaware toNovember 2018        Supreme Court           U.S. Government
                       obtain payment by sale of  – the regime                                 intervenes in the lawsuit
                       PDVSA shares in PDVH.      agrees to make     May 2020 – Supreme Court at the judge's request
                                                  a $500 million     decides not to review the and submits documents
                                                  payment to         case                      in support of the
                                                  Crystallex, and                              Legitimate
                                                  Crystallex                                   Government's position
                                                  requests stay of
                                                  proceedings                                  Final hearing underway
                                                  until January
                                                  2019
*Source: 2019          1ALTER EGO: The Republic and PDVSA are so interconnected that, under U.S. law, PDVSA's shares

Management Report      in PDVH must be treated as property of the Republic
of the ad hoc Board,
Dec 2019
                Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 14 of 76 PageID #: 1496




     OTHER CASES IN DELAWARE
    Several creditors have received international arbitration awards against Venezuela, which they
    are now seeking to enforce in the U.S. and Canada against CITGO Petroleum Corporation, CITGO
    Holding, Inc. and PDV Holding, Inc., in addition to PDVSA and the Republic:

   • Crystallex International (Canadian gold mining company): $1.2 billion plus interest
   • ConocoPhillips (4 COP entities involved in projects in the Orinoco Belt):
     $1.5 billion plus interest
   • OI European Group B.V. (glass container manufacturer based in the Netherlands, wholly
     owned by Owens-Illinois, Inc.): award of $378 million plus interest
   • Rusoro Mining Ltd. (Canadian gold mining company): award of $971 million plus interest

                         These cases are on hold pending the completion of the Crystallex case.
                         In any case, the judge* has determined that each case must individually
                         prove the Alter Ego argument.


*Chief Judge Leonard P. Stark, United States District Court for the District of Delaware, is the judge in all cases.
                        Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 15 of 76 PageID #: 1497




ASSET DEFENSE BUDGET
    Authorizations
• NA Agreement dated April 2019: approves the payment of interest on the PDVSA 2020 Bonds (USD 71,500,000).
• NA Agreement dated October 1, 2019: authorized the execution of close to two million dollars (USD 2,000,000.00)
• NA Agreement dated November 19, 2019: by creating the Litigation Fund, authorized the availability of the remaining
   USD 1.5 million, in accordance with the distribution of expenses reported by this ad hoc Board of Directors to the
   Standing Committee on Finance and Economic Development on November 4, 2019
• NA Agreement dated January 28, 2020: authorized the use of resources up to the amount of USD 20 million for the
   payment of professional fees and legal expenses associated with the protection, recovery , and control of
   Venezuelan assets abroad
Sources of funds (receivables from PDVSA)
LDC Supply International
PDV Chalmette
PDVSA Ad Hoc Board
CITGO Admin
OFAC Licenses
Special Prosecutor’s Office
Bondholders
Law firms


*Reports to the National Assembly: April 2019, January 2020, May 2020, July 2020
        Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 16 of 76 PageID #: 1498




   PORTFOLIO

• In addition to the U.S., PDVSA has assets in several countries that need to be prioritized
  for recovery, taking into account their complexity, recovery potential, financial
  contribution, diplomatic and political support

• Limited financial and human resources have delayed the focus of PDVSA's ad hoc
  Board of Directors on this part of the portfolio

• There are also a number of lawsuits against PDVSA and the Republic in the U.S., which,
  although not of great magnitude, must continue to be addressed
     Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 17 of 76 PageID #: 1499




CITGO
ENTITIES
          Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 18 of 76 PageID #: 1500




   ASSETS – CITGO HOLDING, INC.

• CITGO Holding, Inc. was formed in February 2015              Terminals
                                                                                                     (thousand
                                                                                                        barrels)
• It owns 100% of the shares of CITGO Petroleum                East Chicago                               4,273
                                                               Linden                                     3,669
  Corporation                                                  Marketing terminals
                                                               Albany                                     1,225
• Additionally, it owns five terminals with capacity           Toledo                                     1,151
  for 10 million barrels and participation in poly-            Dayton
  pipelines for an average transportation of                   Polyducts (% share)                     Average
  almost 800 thousand barrels per day                          West Shore Pipeline Company (18.4%)         308
                                                               Wolverine Pipeline Company (9.5%)           349
• The company was created by PDVSA to place the                Inland Pipeline Company (16.2%)              152
  assets and equity participation in CITGO
  Petroleum Corporation as collateral for the CITGO
  2015 (bond and loan) issuances; $2.2 billion of
  these issuances were sent to PDVSA as
  "dividends"
                 Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 19 of 76 PageID #: 1501




        ASSETS - CITGO PETROLEUM CORPORATION

CITGO Petroleum Corporation is a refining company with three
refineries located in three different U.S. states – Part of PDVSA since
1986                                                                                 Empleados=Employees




It has a nominal refining capacity of 769,000 bpd with maritime
terminals with international access and connectivity to the integrated
pipeline system towards the interior of the country
Turnover about $26 billion (2019)
                                                                                                                                 CITGO
                                                                                                                                 Operations
Employees: 3,500 people                                                                                                          CITGO Stations
                                                                                                                                 Pipeline system
                                                                                                                                 Terminals
It owns or participates in 41 terminals with a capacity of 12 million                                                            Lubricant Plants
                                                                                                                                 Refineries
barrels of products, and they are located throughout 21 states. Of                                                               Corporate Office

these terminals, nine have ports with access to water. Through                 Refinery                    Location    Capacity
                                                                                                                           bpd
contracts with third parties, it has access to more than 120 additional
terminals.                                                                     Lake Charles                Louisiana    425,000

The CITGO brand is 55 years old, and its logo is present in more than          Corpus Christi                Texas      167,000
4,700 privately owned, third party-operated service stations that              Lemont                       Illinois    177,000
distribute gasoline, diesel, and lubricants.
             Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 20 of 76 PageID #: 1502




   SITUATION AS OF FEBRUARY 2019

Designation of PDVSA, in January 2019, as SDN¹.
  • The designation created uncertainty for financial and commercial entities interacting with
    CITGO
  • Suspension of Venezuelan crude oil supply to CITGO
  • OFAC license for the operation of CITGO Petroleum Corporation expires in July 2019
Risk of legal actions that may be exercised by PDVSA 2020 bondholders
  • PDVSA placed 50.1% of the stake in CITGO Holding, Inc. as collateral to secure obligations
    incurred with the $3.368 billion bond issuance
  • Interest of $71.5 million on PDVSA 2020 Bond to be paid in April 2019
  • Principal and interest of ~$913 million to be paid in October 2020

   • 1SDN : Specially Designated Nationals – the U.S. Treasury Department's Office of Foreign Asset Control (OFAC)
   publishes a list of companies or individuals whose U.S. assets are blocked, and U.S. entities are prohibited from
   conducting any transactions with them.
            Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 21 of 76 PageID #: 1503




      SITUATION AS OF FEBRUARY 2019
      (Continued)

• Crystallex's claim in the Delaware Court, U.S.A.


•   Fitch (credit rating agency) places CITGO's debt on negative credit watch

• Maturity of credit facilities 1st half of 2019 and financial institutions’ refusal
    to refinance


• Doubts that CITGO qualified as a solvent, operating business due to the
    effect of sanctions, litigation and the possibility of going into default in March
    2019
   Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 22 of 76 PageID #: 1504




ENVIRONMENT AND OBJECTIVES SET BY
THE NEW BOARDS OF DIRECTORS
   • Personnel uncertainty                        PRIMARY OBJECTIVES


   • Sanctions for PDVSA, CITGO                   Financial
     part of an SDN                               Stability

   • Financial instability: banks
     withdrawing revolving credit                 Operational
                                                  Stability
        FEB 2019 uncertainty
        about the company’s
        future                                    Protection
                                                  of Assets
   • Operational instability: prepaid
     crude supply
                                                  Corporate
   • DOJ investigations
                                                  Governance
              Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 23 of 76 PageID #: 1505




       2019 MAIN ACHIEVEMENTS

                        Refinancing of 70% of debt of CITGO entities ($3.09 billion)
Financial
                        Favorable auditors' opinion
Stability               Improved credit risk
                        Increased refining capacity by 20,000 barrels per day
                        60% increase in total capital expenditures and extraordinary maintenance over 2018
Operational
 Stability              Record crude oil processing and product exports in Q4 2019

                        U.S. support, through OFAC, for the issuance of licenses and extensions for
Asset                   operation
Protection              Modification to change of shareholder control clauses in financing agreements


                        Review of controls and restructuring of leadership positions
Corporate               Audits and investigations
Governance              Restructuring of legal and compliance department
                        Restructuring of materials purchasing department
                        Appointment of Chief Executive Officer, VP of Legal, Chief Ethics
                        and Compliance Officer
    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 24 of 76 PageID #: 1506




FINANCIAL STABILITY
    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 25 of 76 PageID #: 1507




FINANCING
2019
                               Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 26 of 76 PageID #: 1508




DIVIDENDS DECLARED AND PAID, 1997 –2019
The regime's policy compromised CITGO's financial capacity
                                                                            Debt issued by CITGO Holding, Inc.




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                                                                                                                           ,
                                                                            to send dividends to PDV Holding,
                                                                            Inc. for $2.2 billion


                                             Dividends paid to PDV Holding, Inc.




                                                                                                                               Accrued dividends $MM
                     Annual dividends, $MM




                                             Annual        Sale of assets          Dividend debt       Accrued dividends



 In 2006, 2007 and 2008, CITGO sold its interest in (1) Lyondell Refinery – CITGO, (2) the Explorer, Eagle and Colonial
 Pipeline Distribution System, and (3) CITGO - Asphalt (CARCO). All proceeds generated from these asset sales
 were sent to PDVSA as dividends (~$2 billion).
                   Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 27 of 76 PageID #: 1509




  FINANCIAL SITUATION INHERITED BY
  THE NEW BOARD OF DIRECTORS

             Securitization of       MATURITY
           accounts receivable       JULY 2019
               $320 million
$ 1.22                                                   Secured notes
BILLION                                                  $1.875 billion
                                                                                    Secured               Secured
          Revolving line of credit   MATURITY                                       Loan B                 notes
             for $900 million        MAY 2019                                     $650 million          $650 million



  2019                                           2020                     2021                   2022          CITGO HOLDING

                                                                                                               CITGO PETROLEUM


                  Maturity of liquidity instruments in less than 1-3 months
                  Urgent renewal due to sanctions because of connection with PDVSA
                  Loss of access to financial markets
                  External auditors highlight difficulties with business continuity
                  Risk rating on the verge of being downgraded
                  Operational and financial risks due to potential default on PDVSA 2020 Bond
                  and litigation in Delaware (Crystallex)
                 Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 28 of 76 PageID #: 1510




2019 FINANCING
  MARCH 2019
 Replacement of $1.22 billion credit facilities with a $1.191 billion term loan from CITGO
 Petroleum Corporation – matures in 2024
  AUGUST 2019
 Replacement of the $1.87 billion CITGO Holding, Inc. bond with a $499 million term loan
 maturing in 2023 and a $1.37 billion bond maturing in 2024
     3000




     2500
                                                                                                                New debt
                                               HoldCo                                                             issue
                                         Replaced with new bond                                                August 2019
                                              and term loan                                                                   HoldCo
     2000                                                                                                                      Bonds
                                                                                                                              $1.370
                     OpCo
                     Replaced with new
      1500
                     term loan                                                                                  New debt
                                                                                                                  issue
                    AR $320                                                                                    March 2019
      1000
                                                                                                                              OpCo
                                                                                         Debt New issue                       Term loan
                                               Bonds                                      August 2019
                                               $1.870                                                                         $1.191
      500                                                          OpCo       OpCo
                                                                  Term loan   Bonds        HoldCo
                                                                                            Term loan      Industrial bonds
                    Resolve                                                   $650                                $108
                     $900                                          $616                      $499
             0

                     2019                         2020                2021        2022              2023              2023+               2024

OpCo: CITGO Petroleum Corporation                  HoldCo: CITGO Holding
                Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 29 of 76 PageID #: 1511




2019 FINANCING
Challenges of the process

Obstacles in the refinancing of the $900 million Revolving Credit Facility (Revólver) maturing 1H
2019
Investors in the existing credit facility did not want to renew the facility due to uncertainty regarding
sanctions and the reputational risk of partnering with PDVSA

The investment banks with which CITGO Petroleum Corporation had worked in the past declined to
lead, manage, or act as collateral agents

Given the proximity of the maturity date, it was necessary to urgently seek a bank or financial
institution that was a leader, administrator or collateral guarantor, that had credibility in the market
and a portfolio of clients that could be interested in the refining sector
                         Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 30 of 76 PageID #: 1512




            CITGO PETROLEUM CORPORATION
            2019 Results – Cash flow

        $ MM
1,400                                                                                                         1,108       1,321


1,200
                                608
                                                        105
1,000


                                            (113)
 800
                                                                                                                                                              Initial effect    Final effect
                                                                                                                                                               January 01,     December 31,
                                                                                                                                                                   2019            2019


 600                  246                                          (442)                                                          Cash and cash equivalents      260             1.321
                                                                              (25)                                                Current restricted cash                         19
                                                                                                                                  Restricted cash                  --             14
 400                                                                                                                                                             274            1.354
           260

 200
                                                                                        (283)


   0                                                                                                (143)
        Initial Cash Net Income Depr.    Change       Change      Shutdowns   Other Cap             Dividends Net      Final
                                and      Accounts     inventory   and         operatioExpenditure             FinancingCash
                                amortiz. receivable               catalyst    nal     and Other
                                         Accounts                             assets Investments
                                         payable
              Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 31 of 76 PageID #: 1513




   CITGO PETROLEUM CORPORATION
   Credit risk rating upgrades in 2019
                                                    February           July          September   Current
                                                    2019               2019              2019    07.29.2020
                            Moody's                 B-                 B-        B3              B3
                            FITCH                   BB                 BB        BB              BB

Standalone profile         Standard & Poor's        BB-                BB-       BB              B+
                           Moody's                  B-                 B-        B3              B3

                           FITCH                    B                  B         B               B
 Long-term issuer
                           Standard & Poor's        B-                 B-        B-              B-

                           Moody's                   Stable             Stable    Stable          Stable


                           FITCH                     Negative credit                              Negative credit
                                                     watch              Stable    Stable          watch1


                           Standard & Poor's                            Credit
 Future projection                                   Credit watch       watch     Stable          Stable




     ¹ COVID-19 impact
    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 32 of 76 PageID #: 1514




OPERATIONAL
STABILITY
             Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 33 of 76 PageID #: 1515




    ENERGY SECTOR 2018 VS. 2019
                                           Reduction in the differential between light and heavy crude oil
INDICATORS                                 affects conversion refineries such as CITGO (Brent – Maya and WTI
                                           – WCS).
                                           Permian crudes appreciated relative to Houston as pipeline
                                           capacity increased (2019), reducing the margin in refining them.

                                           Reduction in gasoline-to-crude margin at gulf refineries (USGC).
                                           Gasoline accounts for 46% of production, partially offset by the
                                           diesel-to-crude differential.
                                                      Refinery loadings, thousands of barrels per day
         Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 34 of 76 PageID #: 1516




CITGO PETROLEUM CORPORATION
Results 2019 – Refineries


Gross margin $/bbl                               Operating expense disbursement $/bbl




Total processing, thousands of barrels per day
                                                 EBITDA. $bn
          Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 35 of 76 PageID #: 1517




CITGO PETROLEUM CORPORATION
Results 2019
Adverse change in almost all refining margins due to market conditions affecting prices
and sales volumes, which impacted operating income in 2019 vs. 2018
                          Adjusted operating income ($ billion)
                      billion




PBF and CITGO do not separate the refining segment. CITGO indicates adjusted EBITDA
             Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 36 of 76 PageID #: 1518




CITGO PETROLEUM CORPORATION
2019 Results - Profit and loss statement 2018 vs. 2019
                     ($ MILLIONS)                                        2018     2019

                     Income
                     Net Sales                                         29740     25567
                     Other Income                                          29       24
                     Total Revenue                                     29769     25591

                     Costs and Expenses
                                                                       25336     22043
                     Purchase of crude oil and supplies
                                                                         2884     2698
                     Operating costs
                                                                          336      339
                     General, sales and administrative expenses
                     Interest and leasing                                 122      185
                     Other expenses                                        -1         3
                     Total costs and expenses                          28677     25268

                         Income before taxes                             1092      323
                         Taxes                                            241       78

                     NET INCOME                                           851      246
                    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 37 of 76 PageID #: 1519




CITGO PETROLEUM CORPORATION
2019 Results - Profit and loss statement 2018 vs. 2019
Net income in 2019 decreased by $605 million mainly due to:

Lower 2019 sales resulting from market conditions ($4.2 billion) compared to lower crude cost ($3.2 billion). The
average cost of crude oil purchased in 2018 was $63.4/bbl, which decreased to $59/bbl. However, this reduction in
costs was not enough to offset the drop in sales.

Operating costs were favored by lower energy costs for the refineries.

Interest expenses were increased by replacing the credit facilities with a term loan of $1.191 billion, under risky
conditions of non-renewability and amid a situation of sanctions and low credibility in the market.

The reduction in tax is due to lower pre-tax income even though the effective tax rate for 2019 was higher.

• Non-recurring events:

  • $60 million loss of crude oil inventory due to the illegal and forced seizure aboard the Gerd Knutsen
    vessel

  • Elimination of accounts receivable from reinsurers for $30 million due to the liquidation of PDVIC

  • Litigation costs associated with hydraulic fluid of $24 million

  • Recovery of $21 million in Athos litigation costs
  • Gain on liquidation of LIFO inventory volume, $31 million
            Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 38 of 76 PageID #: 1520




                 CITGO PETROLEUM CORPORATION
Increase in nominal refining capacity by 20 thousand barrels per day and
                         flexibility to process lighter crudes
  Nominal refining capacity (thousand barrels per day)

    REFINERIES                                2019          BEFORE (2005)            CHANGE

    Corpus Christi                             167                157                    +10

    Lake Charles                  167
                                               425                425                      -

    Lemont                                     177                167                    +10

    Total                                      769                749                    +20
                         Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 39 of 76 PageID #: 1521




 2019 RESULTS
 Investments and Maintenance
Capital expenditures and extraordinary maintenance¹                                    Extraordinary maintenance 2019
                                                                                       vs. 2018
$ MILLION                      2014         2015          2016   2017   2018    2019

Turnaround/Catalyst            278           210           298    282     218    439   Refineries   Plants               2018         2019
                                                                                                                    ($ MILLIONS)   ($ MILLIONS)

Capital investment             203           333          160    237      237    280                Shock 1
                                                                                        Lake        ULSD
Total                          481           543          458    519     455    719
                                                                                       Charles      BOH                  117
                                                                                                    Sulfolane
                                                                                                                                       163
                                                                                                    Unicracker

                                                                                                    #1 FCC
                                                                                                    EP B-SRU
Investment execution by activity                                                         Lemont     Main Amina            39           56
                                                                                                    ULSD
$ MILLION                            2018          2019                                             Cat Reformer

Regulatory/Environmental              67           60                                               C-SRU
                                                                                                    H2 Plant
Maintenance                           144          170                                  Corpus      Oil/Sat Gas
                                                                                         Cristi     COker                 62
Strategic                             15           37                                                                                 220
                                                                                                    #5 Platformer
Safety/Risk Mitigation                11            13                                              SRU
                                                                                                    MIDHT
Total                                 237           280                                             ULSD
                                                                                         TOTAL
                                                                                                                          218         439

• Extraordinary maintenance - Turnaround - Plant shutdowns
                   Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 40 of 76 PageID #: 1522




CITGO PETROLEUM CORPORATION
2019 Results - Purchase of crude oil
    PURCHASE OF DOMESTIC CRUDE OIL                       PURCHASE OF CRUDE OIL
                                                                  BY                              VENEZUELAN CRUDE OIL
     THOUSANDS OF BARRELS PER DAY
                                                                ORIGIN                                   HISTORY
                                                                                                        Thousands
                                                                                                          barrels   % crude oil
                                                                                                Year     per day      total


                                                                                                2019       33         5%

                                                                                                2018      177         25%

                                                                                 Venezuela 2%
                                                                                 Venezuela      2017      154         23%

                                                                                                2016      194         28%

                                         almost 79% North American crude                        2015      207         29%


Source of 2019 crude oil: U.S.            CRUDE OIL IMPORTED AT GULF COAST REFINERIES (MILLION BARRELS)
domestic, Canadian, and other
imported.


•   Venezuelan crude oil only
    during the first quarter 2019
Increase of domestic light crude
oil at gulf refineries



                                            2019                                                 2020
               Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 41 of 76 PageID #: 1523




CITGO PETROLEUM CORPORATION
2019 Results - Historical safety indicators
               Occupational Safety Indicator= (0.3 * TRIR) + (0.7* DART + fatality rate)



                                                      Q1 2020
                                                                                YTD        YTD
2015 to 2019                                                                    TRIR       DART   2020 to July 2020

                                                     Employees                  0.11       0.00
                                                     Contractors                0.17       0.08
                                                     Combined                   0.14       0.05




    In March, we had a vehicular accident that resulted in the contractor’s death
    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 42 of 76 PageID #: 1524




ASSET
PROTECTION
   Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 43 of 76 PageID #: 1525




CITGO AS A CREDITOR TARGET

                                                                 Crystallex
                                                                 ConocoPhillips
                                                                 Rosneft Loan




                                         POS
                                      Holding, Inc.                     PDVSA
          PDVSA 2020 Bonds
                                                                   Rosneft Loan
          50.1%
          shares as
          collateral
                                                                   49.9% Shares
                                       CITGO                        as collateral
                                     Holding, Inc.
              Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 44 of 76 PageID #: 1526




  ASSET PROTECTION
Shareholder control:
    • Clauses were negotiated to mitigate the risk of a change in shareholder
        control.

    • The renegotiation succeeded in making it conditional: (a) if PDVSA's stake
      (directly or indirectly) reached less than 50%, and (b) if a rating agency
      (Moody's or Standard and Poor's) downgraded the company's credit rating
      within 90 days.

    • Additionally, in the credit facility, the auditor was required to issue a "clean"¹
        opinion on whether the company remained a going concern, and this was
        eliminated.

  • This means that the auditor's opinion would indicate that the financial statements fairly represent the company’s operations
  and financial position and that it has no additional comments or reservations regarding the company's performance in the short
  term.
     Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 45 of 76 PageID #: 1527




ASSET PROTECTION

U.S. support:

• A special license was obtained from the PFAC for continual operation for 18
  months, automatically renewable on a monthly basis.

• The issuance and recent renewal of the 5D General License, granted by OFAC to
  protect CITGO from any enforcement action (PDVSA 2020).

• The U.S. Government filed, through the Department of Justice, the Special
  Representative for Venezuela, and OFAC, its opinion before the Delaware Court
  supporting the legal actions of the Legitimate Government of Venezuela
  regarding the defense of CITGO (Crystallex Case).
    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 46 of 76 PageID #: 1528




CORPORATE
GOVERNANCE
       Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 47 of 76 PageID #: 1529




CORPORATE GOVERNANCE
The new Board of Directors recognized that an investigation of the alleged irregularities
was necessary and established the mechanism for its execution in order to:

• Ensure that such possible acts of corruption do not continue

• Establish the necessary mechanisms to prepare the required defenses and claims to
  generate potential litigation against persons who may be involved in possible acts of
  corruption

• Be prepared to interact with the relevant U.S. authorities

• Hire legal advisors to carry out investigations, assist in initiating proceedings before the
  competent authorities, and take legal action as necessary

• Establish internal controls in the execution of contracts for goods and services, including
  the experience and technical and financial credentials of the contracted companies, in
  accordance with industry standards, and following transparency mechanisms and
  regulatory compliance programs
      Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 48 of 76 PageID #: 1530




CORPORATE GOVERNANCE
• Selection of the CEO from a pool of 13 candidates with a track record of refining and
  petroleum industry experience, high ethical standards, and knowledge of corporate
  governance best practices

• Hiring of an external consultant to review the internal control systems and to conduct
  internal investigations, resulting in the elimination of roles such as: Vice President of
  Shared Services and Shareholder Procurement Services

• Selection of CITGO Petroleum Corporation's auditor

• Establishment of whistleblower protection systems

• Employee training on the Foreign Corrupt Practices Act

• Assign regulatory compliance and ethics activities to the Vice President of Legal and
  Governmental Affairs

• Updating of the code of business ethics
    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 49 of 76 PageID #: 1531




INVESTIGATIONS
             Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 50 of 76 PageID #: 1532




INVESTIGATIONS


 • At the time the current Board of Directors of CITGO Petroleum Corporation was
   appointed, a series of allegations of alleged acts of corruption were being made
   against CITGO and against contractors doing business with the company.

 • Other allegations of alleged acts of corruption were reported as a consequence
   of the investigations that the U.S. Department of Justice is conducting into
   PDVSA and its subsidiaries, from 2013 to 2018.

 • CITGO Petroleum Corporation received a subpoena from the U.S. Department of
   Justice on May 14, 2019 (Adds another layer of oversight to OFAC's).
             Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 51 of 76 PageID #: 1533




INVESTIGATIONS
 The subpoena requires a number of documents and transactions executed by the company
 and PDVSA with third parties from 2013 to 2018.
 Additionally, the Department of Justice sent a second subpoena to the company on
 December 17, 2019, requesting information on insurance transactions involving PDVSA's
 Bermuda captive company PDVIC.

 The Board of Directors is committed to cooperate by providing all the information requested
 by the Department of Justice in the framework of its investigation into PDVSA and its
 subsidiaries.
SHIERA BASTIDAS - RINCÓN FERNÁNDEZ
 In March and June 2016, Abraham José Shiera Bastidas and Roberto Enrique Rincón
 Fernández pleaded guilty to corrupt practices punishable under the FCPA. These individuals
 are believed to be related as contractors of PDVSA and CITGO, as well as other PDVSA
 subsidiaries engaged in the procurement of goods and services, such as PDV Services, Inc.
 and Bariven.
               Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 52 of 76 PageID #: 1534




INVESTIGATIONS - BACKGROUND

 JOSÉ MANUEL GONZÁLEZ TESTINO AND PLS.
 On March 14, 2014, CITGO and PLS entered into an agreement in which PLS agrees to provide
 procurement and logistics services related to the procurement services provided by CITGO on
 behalf of PDVSA. PLS is a company owned by José Manuel González Testino.

 González Testino pleaded guilty in the United States to FCPA violations, partly for bribing
 different people in PDVSA/CITGO.

 Between 2014 and 2018, CITGO paid PLS and affiliates approximately $20 million as a contractor
 in various procurement transactions as part of the services provided under the Shareholder
 Procurement Project.

 CITGO, after consultation with the Department of Justice, decided to sue PLS and González
 Testino for breach of contract, fraud, claims for indemnification and costs related to the breaches
 of contract, as well as civil claims related to the RICO Act.
              Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 53 of 76 PageID #: 1535




INVESTIGATIONS - BACKGROUND

 INTERAMERICAN CONSULTING LLC
 In March 2017, PDV USA, a subsidiary of PDV Holding, Inc., entered into a consulting agreement
 with Interamerican Consulting for $50 million.

 The owner of the company is former congressman David Rivera.

 The idea of the agreement was for Mr. Rivera to provide strategic consulting services to improve
 PDVSA's reputation. Said contracting would be for a term of three months, and the amount would
 be payable in six parts. $15 million were paid, leaving $35 million to be paid. This agreement was
 authorized by PDVSA in Caracas.

 Once the new Board of Directors took control of PDV Holding, Inc., and as part of its ongoing
 investigation process, and after consultation with the Department of Justice, it decided to sue
 Interamerican Consulting for breach of contract.
      Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 54 of 76 PageID #: 1536




CITGO PETROLEUM
CORPORATION AMID
THE COVID-19 CRISIS
                Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 55 of 76 PageID #: 1537




       CITGO PETROLEUM CORPORATION
       Energy environment amid COVID-19
       Product demand – Recovering
U.S. gasoline demand   MMBD           U.S. distillate demand   MMBD          U.S. jet fuel demand,   MMBD




        Demand is slowly recovering as states have eased restrictions. However, there is uncertainty
        about further shutdowns in the economy.
        Gasoline continues to show improvement in demand as businesses reopen and summer travel
        continues to increase
        Distillate demand is recovering but may need continued boost in employment to stimulate
        consumption
        U.S. jet fuel demand is increasing at a faster rate than passenger volume growth, due to non -
        commercial and cargo aviation
         Source: EIA, TSA, ERDC
                 Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 56 of 76 PageID #: 1538




     CITGO PETROLEUM CORPORATION
     Energy environment amid COVID-19
     Exports from the U.S. are improving
USA. Gasoline exports, MBD              U.S. distillate exports, MBD                       U.S. jet fuel exports, MBD




                                                                                           Demand for refined products in Latin America
 U.S. gasoline and diesel exports rebounded in June, helped by growing             4,350
 demand from Latin America                                                         4,100

                                                                                   3,850




                                                                             b/d
                                                                             T
                                                                             o
                                                                             h
                                                                             u
                                                                             n
                                                                             d
                                                                             s
                                                                             a
                                                                                   3,600
 The increase in exports did little to slow the growing stocks on the Gulf         3,350

 Coast. The glut continues to force product storage on offshore vessels.
                                                                                   3,100


 Low refinery utilization (~ 50%, 12% YoY) in Latin America has also               2,850

                                                                                   2,600
 contributed to the increase in imports.                                                     Jan   Feb   Mar      A pri l   May   Jun   Jul   Aug   Sep   Oct   Nov   Dec


                                                                                                               5 year max-min
                                                                                                               2019                           2018
                                                                                                               2021 forecasted                2020 forecasted




   Source: EIA, IHS
           Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 57 of 76 PageID #: 1539




CITGO PETROLEUM CORPORATION
Results 1st Quarter 2020 – Refineries

 Gross margin $/bbl                        Operating expense disbursement $/bbl




 Total processing, thousands of barrels           EBITDA. $bn
 per day
         Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 58 of 76 PageID #: 1540




CITGO PETROLEUM CORPORATION
Results 1st Quarter 2020
Profit and Loss Statement, Q1 2019 vs. Q1 2020
                   PROFIT AND LOSS STATEMENT                              1ST QUARTER


                     ($ MILLIONS)                                  2019         2020
                     Income
                     Net sales                                     6012         4971
                     Other income                                    4             10
                     Total income                                  6016         4981

                     Costs and expenses
                     Purchase of crude oil and supplies            5278         4280
                     Operating costs and expenses                  718           997
                     General, sales and administrative expenses.    72             85
                     Interests                                      31             49
                     Other expenses                                  1           -173
                     Total costs and expenses                      6100         5238

                     Income (loss) before taxes                     -84          -257
                     Taxes                                          -17           -98

                     Net income                                     -67          -159
               Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 59 of 76 PageID #: 1541




CITGO PETROLEUM CORPORATION
Results 1st Quarter 2020
Profit and Loss Statement, Q1 2019 vs. Q1 2020
Net income in Q1 2020 decreased by $92 million due to:
• Revenue decrease of almost $1 billion due to a drop of nearly 20% in product sale prices that was
  not fully offset by the sales volume increase of ~ 4%.
 In the cost of crude oil and supply purchases, savings are observed due to low crude oil prices
 because of the disagreement between Russia and OPEC on crude oil production cuts. The average
 price was $57/barrel in Q1 2019 and $45.9/barrel in Q1 2020.
 Four non-recurring events such as:
  - $332 million adjustment in the value of inventories to reflect lower market value vs. book
    value
  - $172 million income from recovery of Athos litigation costs
  - $48 million tax benefit from the Coronavirus Aid Relief and Economic Stability Act
    (CARES ACT)
  - Recovery of $19 million in litigation expenses
                  Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 60 of 76 PageID #: 1542




   CITGO PETROLEUM CORPORATION
   Results 1st Quarter 2020
   A quarter of losses in the refining business
                                                                 Holly       Citgo
         Valero       Delek    PBF     Phillips 66   Marathon   Frontier   Petroleum
    0


 -1000                 -314                                                   -159

                                                                   -305
                               -1063
 -2000

          -1851
 -3000                                    -2496                                        The U.S. refining
                                                                                       industry was hit hard
 -4000
                                                                                       during the first quarter.
 -5000                                                                                 Losses caused by:
 -6000                                                                                   Lower volume and
 -7000
                                                                                       lower price
                                                                                         Inventory
 -8000
                                                                                       revaluation
 -9000


-10000                                                  -9232


             Net losses
            Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 61 of 76 PageID #: 1543




                 CITGO PETROLEUM CORPORATION
RESULTS – 1st Quarter 2020 – A quarter of losses in the refining business and
CITGO has an adjusted EBITDA of $38 million

                                                                          Likewise, in the case of
                                                                          adjusted EBITDA, which allows
                                                                          the deduction or omission of
                                                                          non-recurring events, such as
                                                                          losses from adjusting
                                                                          inventory to market value and
                                                                          impairment losses.


                                                                          Three companies continue to
                                                                          show losses. In the case of
                                                                          CITGO, its adjusted EBITDA is
                                                                          $38 million.
    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 62 of 76 PageID #: 1544




FINANCING
2020
           Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 63 of 76 PageID #: 1545




2020 FINANCING
      OBJECTIVES
      Refinancing of term debt of CITGO Petroleum Corporation, maturing in July 2021¹.

      Strengthen the company's liquidity in the face of market threats caused by COVID-19




¹ If it is refinanced when it becomes current (less than 12 months), it increases the risk of the market considering that
the company is having problems continuing to operate as a going concern.
                      Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 64 of 76 PageID #: 1546




                                       2020 FINANCING
Faced with uncertainties surrounding COVID-19’s impact on 2020 and Q1 2020 financial results, many
companies in the US energy sector turned to financing. The objective was to have enough liquidity
to cover their operations for the remainder of 2020.
US $ BILLION                                                US $ BILLION BY DATE




                                                               0


                                                                     13/01/2020

                                                                                  24/01/2020

                                                                                               27/01/2020

                                                                                                            04/02/2020

                                                                                                                         17/03/2020

                                                                                                                                      19/03/2020

                                                                                                                                                   13/04/2020

                                                                                                                                                                15/04/2020

                                                                                                                                                                             16/04/2020

                                                                                                                                                                                          27/04/2020

                                                                                                                                                                                                       09/04/2020

                                                                                                                                                                                                                    11/05/2020

                                                                                                                                                                                                                                 13/05/2020

                                                                                                                                                                                                                                              19/05/2020

                                                                                                                                                                                                                                                           20/05/2020

                                                                                                                                                                                                                                                                        10/06/2020
                                                                                                                                                                                                                                                                                     05/07/2020
Source: Bloomberg
                         $55 billion debt placement of selected energy sector companies in
January – June 2020
                         five months
                            Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 65 of 76 PageID #: 1547




                                           2020 FINANCING
                                        CITGO enters the financial market in June
Successful private placement of $1.125 billion of secured notes at 7% with maturity in 2025
•   CITGO Petroleum Corporation, considered in the market as a
    corporate issuer, places secured notes with two well-known                                    INTEREST RATE VS. RISK RATING
    investment banks¹.
                                                                        11.00%
•   A window of opportunity is identified that allows CITGO Petroleum
    Corporation significantly lower interest rates (7%) than other      10.00%

    issuances with a similar risk rating to CITGO Petroleum             9.00%
    Corporation.
•   CITGO Petroleum Corporation's strength in the market leads to       8.00%

    over-demand and achieves higher issuance than originally planned,   7.00%
    of 750 million to allow CITGO Petroleum Corporation sufficient
    liquidity to cover the drop in sales and meet its financial and     6.00%

    commercial obligations due to the effects of COVID-19.
                                                                        5.00%
•   Participation of 149 institutional investors. 80% of the
                                                                        4.00%
    placement was carried out with large and highly recognized                      BB+                 BB                  BB-                  B+             B       CCC+
    investment funds.
                                                                                 Simple Average Based on Number of Issuances in Credit Rating           CITGO
•   US refining industry peers place $1.0 billion at 9 1/4%.
                                                                                                                                                Source: Bloomberg- Period I SEM 2020
¹ JP Morgan and Jefferies
     Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 66 of 76 PageID #: 1548




SIMÓN BOLÍVAR
FOUNDATION
                 Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 67 of 76 PageID #: 1549




WHAT IS THE SIMÓN BOLÍVAR FOUNDATION?
• The Foundation was established in 2006, as a private non-profit foundation of CITGO.
• It is registered in Delaware, USA, and its sole member and contributor is CITGO.
• It is subject to U.S. federal and state laws, audits and controls by authorities (IRS), internal
   CITGO audits, and external audits annually.
• By law, its donations must be for strictly charitable purposes. Subject to special regulations
   prohibiting political proselytizing.
• The Foundation must select its beneficiaries in a neutral manner, without external interference.
  It is forbidden for authorities of PDVSA, CITGO and other Venezuelan public entities, or their
  relatives – who may influence the Foundation's decisions – to receive grants from the
  Foundation.
• The Foundation is required to report annually its activities to the IRS, including:
(i)details of programs funded, (ii) entities benefiting from grants, and (iii) grant amounts. This
information is public.
                Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 68 of 76 PageID #: 1550




                             SIMÓN BOLÍVAR FOUNDATION

The Foundation has been working to define processes to mitigate the risks to which a U.S. foundation is
exposed when extending grants through three key elements:
1. Due diligence or due process: evaluation of the potential grant recipient, including financial capacity,
implementation capacity, key personnel, bank accounts, etc. Beneficiary selection process in two stages, (i)
preliminary evaluation of all organizations applying for processes, and (ii) comprehensive evaluation of selected
organizations.
2. Solid grant agreement:
Specific clauses obligating the grantee to comply with U.S. laws in each area, including:
- Corruption – Foreign Corrupt Practices Act (FCPA)
- Due process evaluation of subcontractors or third parties
- Conflict of interest
- Money laundering
- OFAC (Sanctions)
- Clearly defined scope, and the obligation to return the funds if they are not used for that purpose .
- Execution metrics, budget and work plan, with specific scope, progress and project completion reports
3. Right to audit, up to two years after termination
                    Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 69 of 76 PageID #: 1551




                           SIMÓN BOLÍVAR FOUNDATION
                                      Efforts to fight COVID-19

   621,024                     15,000              >10,845                        >257                   33
Dollars awarded            Meals served/month      Health professional       Canteens or community     Hospitals favored
                                                      beneficiaries         centers assisted




Areas                                                               Impacted Territory




 PPE + MEDICINE
 TELEMEDICINE
 HEALTH
 NUTRITION
 MEDICAL ASSISTANCE
 MEDICAL ASSISTANCE +
 CONNECTIVITY
 DIAGNOSTICS
                           Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 70 of 76 PageID #: 1552




                                      SIMÓN BOLÍVAR FOUNDATION – 2020
New Vision: "A future in which access to basic health care is          Humanitarian Health Program: COVID-19 Emergency
a valued human right."                                                 Response Fund
Patients:                                                              - $145,000 awarded in seven programs to provide
- Since its inception, 90% of its budget has been dedicated to the     immediate help to mitigate COVID-19 in Venezuela: PPE,
care of critically ill patients treated abroad.                        hygiene and connectivity.
- 25 active patients, identifyin g potential organizatio ns with
which we can establish agreements that will benefit not only our
patients, but many others.
                                                                       Knowledge Transfer and Training
Small Grant Program:                                                   Capabilities:
- January: $100,000 – six grants for assistance programs in            - Five webinars to date. The latest: "Growin g
Venezuela, Colombia, and Ecuador.                                      Humanitarian Crisis due to COVID-19" and "Cardiology and
COVID-19: $475,000 approved to support 15 programs for                 COVID-19" with Baylor College of Medicine.
mitigate the pandemic in Venezuela.                                    - Training through the PADF of the Foundation's personnel and
                                                                       beneficiaries on the project cycle           and
                                                                       humanitarian health.


    Currently, the Foundation is at the advanced stages of two processes:
    Hoy Invita Simón: Small grant program to help Venezuelan diaspora in the U.S. with food programs
    Medium/Large Humanitarian Health Grant Program: International humanitarian organizations offering nutrition programs,
    supply of medication for chronic illnesses, and medical and emergency care.
    Programs being designed:
    Medium and Large Humanitarian Health Grants: medication for chronic illnesses, nutrition and food,
    new opportunities to bring more humanitarian aid, to support skills training in Venezuela, and to support the Venezuelan
    diaspora.
     Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 71 of 76 PageID #: 1553




THE ROLE OF THE
NATIONAL OIL AND GAS
INDUSTRY IN
VENEZUELA'S
RECOVERY
      Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 72 of 76 PageID #: 1554




COUNTRY PLAN




Venezuela Oil and Gas
A Vision of the Future
Since its inception, PDVSA's ad hoc Board of Directors has been participating, in
collaboration with the Permanent Commission for Energy and Petroleum, in the structuring
of the oil and gas sector’s recovery within the framework of the Country Plan.
              Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 73 of 76 PageID #: 1555




   COUNTRY PLAN
                                                           A vision of the future… if we have the opportunity
   The pursuit of a consensus
  Technical groups in • Diagnosis                          Communication
      Venezuela          • Possible technical plan
                         • Identify market opportunities   Citizens
Technical groups abroad • Financial implications for
                           economic recovery               MINISTRY
     Multilaterals       • Design of institutional
                           changes                         JD and Management
                         • Communicate
     Country Plan        • Adapt                           Regulatory Agency

                                                           Operators

                                                           Communication / Authority / Accountability
International aid                National Government         • Clear separation of functions and roles: Establish
                                                               policies (MEM), regulations (AVH), and operation
Opening of the national          Homes                         (PDVSA and others).
oil and gas industry
                                                                •    Private investment (domestic and foreign)
Oil and Gas                      ASSETS                              participates in all phases of the hydrocarbon value
                                                                     chain.
ASSETS                           SALARIES                       •    PDVSA is reduced (?), forced by limitations imposed
                     ( Bs) ($)                                       by operational and financial capacity.
                                                                •    Promotion of industrial development around the oil
Rest of the world                                                    and gas sector.
Non-oil domestic                                                •    Personnel outside PDVSA represent seed capital of
economy                                                              knowledge for Venezuelan/foreign companies.
                                                           Adapted from:
                                                            http://regulationbodyofknowledge.org/a-narrative-developing-and-improving-inf
                                                            rastructure-regulation-in-fragile -and-conflict-affected-states/revitalizing-and-reforming-
                                                            regulatory-governance-for-inf rastructure-in-post-fcv-env iroments/principles-for-the-
                                                            governance-of-regulators/
              Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 74 of 76 PageID #: 1556




                         FINAL CONCLUSIONS

PDVSA's ad hoc Board of Directors has been successful so far in defending its main assets: PDV
Holding, Inc., CITGO Holding, Inc., and CITGO Petroleum Corporation.


Major litigation in the U.S. is in its final stages, and we are optimistic about developments.
However, in a negative scenario, there would be significant negotiation challenges that may
involve asset dilution.

Progress to date is largely due to teamwork with the Special Prosecutor's Office, the Venezuelan
diplomatic representation, and the support of PDV Holding, Inc. and its subsidiaries.

The limited financial and human resources impose severe restrictions on the activity of the ad
hoc Board of Directors.
   Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 75 of 76 PageID #: 1557




THANK YOU!
Case 1:20-mc-00257-LPS Document 38-2 Filed 04/16/21 Page 76 of 76 PageID #: 1558


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  Date: April 16, 2021




       Wolf Markowitz
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